Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 1 of 46 PageID #: 13149




               EXHIBIT A
           FILED UNDER SEAL
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 2 of 46 PageID #: 13150


  1                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
  2                               SHERMAN DIVISION
  3           THE STATE OF TEXAS,                    )
              ET AL.,                                )
  4                                                  )
                    Plaintiffs,                      ) CIVIL ACTION NO.:
  5                                                  )
              VS.                                    ) 4:20-CV-957-SDJ
  6                                                  )
              GOOGLE LLC,                            )
  7                                                  )
                    Defendant.                       )
  8
  9
 10                     -----------------------------------
 11                        HEARING BEFORE SPECIAL MASTER
 12                                APRIL 18, 2024
 13                     -----------------------------------
 14
 15
 16                 A HEARING BEFORE THE SPECIAL MASTER was taken in
 17      the above-styled and numbered cause on April 18, 2024,
 18      from 11:04 a.m. to 5:17 p.m., before Kimberly Byrns
 19      Buchanan, CSR, RPR in and for the State of Texas,
 20      reported by machine shorthand, at the United States
 21      Courthouse, 7940 Preston Road, Plano, Texas 75024,
 22      pursuant to the Federal Rules of Civil Procedure and the
 23      provisions stated on the record or attached hereto.
 24
 25

                                                                    Page 1

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 3 of 46 PageID #: 13151


  1                            A P P E A R A N C E S
  2
  3      SPECIAL MASTER:
  4               Mr. David Moran
                  JACKSON WALKER LLP
  5               2323 Ross Avenue
                  Suite 600
  6               Dallas, Texas 75201
                  Tel: (214) 953-6000
  7               E-mail: dmoran@jw.com
  8               - also -
  9               Mr. William T. Nilsson
                  2323 Ross Avenue
 10               Suite 600
                  Dallas, Texas 75201
 11               Tel: (214) 953-6000
                  E-mail: wnilsson@jw.com
 12
 13      FOR THE STATES:
 14               Ms. Geraldine W. Young
                  NORTON ROSE FULBRIGHT US, LLP
 15               1301 McKinney
                  Suite 5100
 16               Houston, Texas 77010-3095
                  Tel: (713) 651-5151
 17               E-mail: geraldine.young@nortonrosefulbright.com
 18               - and -
 19               Mr. John McBride
                  NORTON ROSE FULBRIGHT US, LLP
 20               1045 W. Fulton Market
                  Suite 1200
 21               Chicago, Illinois 60607
                  Tel: (312) 964-7800
 22               E-mail: john.mcbride@nortonrosefulbright.com
 23               - and -
 24
 25

                                                                    Page 2

                                 Veritext Legal Solutions
                                      346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 4 of 46 PageID #: 13152


  1                               A P P E A R A N C E S
                                       (CONTINUED)
  2
  3      FOR THE STATES (CONT'D.)
  4               Mr. Zeke DeRose
                  THE LANIER LAW FIRM
  5               10940 W. Sam Houston Parkway N.
                  Suite 100
  6               Houston, Texas 77064
                  Tel: (713) 659-5200
  7               E-mail: zeke.derose@lanierlawfirm.com
  8               - and -
  9               Mr. Ashley Keller
                  KELLER POSTMAN LLC
 10               150 N. Riverside Plaza
                  Suite 4100
 11               Chicago, Illinois 60606
                  Tel: (312) 741-5220
 12               E-mail: ack@kellerpostman.com
 13               - and -
 14               Mr. Trevor Young, Esq.
                  Deputy Chief-Antitrust Division
 15               THE OFFICE OF THE TEXAS ATTORNEY GENERAL
                  300 W. 15th Street
 16               12th Floor
                  Austin, Texas 78701
 17               Tel: (512) 463-2100
                  E-mail: trevor.young@oag.texas.gov
 18
 19      FOR GOOGLE LLC:
 20               Mr. R. Paul Yetter
                  Ms. Mollie Bracewell
 21               YETTER COLEMAN LLP
                  811 Main Street
 22               Suite 4100
                  Houston Texas 77002
 23               Tel: (713) 632-8000
                  E-mail: pyetter@yettercoleman.com
 24
                      - and -
 25

                                                                    Page 3

                                 Veritext Legal Solutions
                                      346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 5 of 46 PageID #: 13153


  1                                  A P P E A R A N C E S
                                               (CONTINUED)
  2
  3      FOR GOOGLE LLC (CONT'D.)
  4                   Mr. Robert McCallum
                      Ms. Lauren Vaca
  5                   FRESHFIELDS BRUCKHAUS DERINGER LLP
                      3 World Trade Center
  6                   175 Greenwich Street
                      New York New York 10007
  7                   Tel: (212) 277-4000
                      E-mail: rob.mccallum@freshfields.com
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25

                                                                    Page 4

                                 Veritext Legal Solutions
                                      346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 6 of 46 PageID #: 13154


  1      will be a limited deposition.           But we need her for this

  2      case.    They haven't stipulated that her testimony is

  3      admissible in this case, you know.

  4                       And we understand Judge Jordan's directive

  5      that you need evidence in this case, not rely on

  6      evidence in other cases.        That's kind of what we're

  7      doing.    We're getting the evidence for our case.

  8                       SPECIAL MASTER:        Appreciate that.

  9                       Anything else, Mr. -- go ahead.

 10                       MS. YOUNG:     Sorry.       One --

 11                       SPECIAL MASTER:        Don't mean to cut you

 12      off.

 13                       MS. YOUNG:     -- (inaudible) correct.

 14                       Just to give some context, he talked

 15      about -- or Mr. McCallum talked about that the very few

 16      clawback challenges that have been made in this case.               I

 17      just want to put that in context.

 18                       We are only allowed to challenge

 19      clawed-back documents that we have previously viewed.

 20      We can't -- we're not in a position to challenge all the

 21      clawed-back documents.        So that universe of

 22      challengeable documents is actually really, really small

 23      under the protective order.

 24                       And that -- and so that's not to say that

 25      we don't have grounds to challenge any or that all

                                                                  Page 112

                                 Veritext Legal Solutions
                                      346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 7 of 46 PageID #: 13155


  1      documents have, you know, properly been withheld.               It's

  2      just a function of the clawback provision in the

  3      protective order.

  4                       SPECIAL MASTER:         Thank you.

  5                       Anything further, Mr. McCallum?

  6                       MR. MCCALLUM:       Just on the point of the

  7      suggestion that there was a practice of shielding

  8      documents.    There's been no explanation of why a

  9      practice, if it existed, would have been detected by

 10      outside counsel's review of privilege calls.            And that

 11      is the -- that's the reason why we have outside counsel

 12      conducting independent reviews.

 13                       And that's the only point that I'll make.

 14                       SPECIAL MASTER:         Thank you.

 15                       We've got about twenty minutes before we

 16      need to get back before Judge Jordan.

 17                       Do we want to take up, Mr. Yetter, your

 18      protective order with regard to Mr. Brin, Pichai --

 19                       MR. YETTER:      Yes.

 20                       SPECIAL MASTER:         -- and Neal Mohan?

 21                       MR. YETTER:      Yes.

 22                       So you've read all the papers.         And I

 23      don't think there's any disagreement -- like material

 24      disagreement of what the standard is.

 25                       Plaintiff has to show relevance, and it's

                                                                  Page 113

                                 Veritext Legal Solutions
                                      346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 8 of 46 PageID #: 13156


  1      not enough to show remote relevance.               And basically it's

  2      the Computer Acceleration case --

  3                       SPECIAL MASTER:        Right.

  4                       MR. YETTER:      -- of the Eastern District.

  5                       And, if they show relevance, then

  6      the -- of the -- the defendant here -- of the -- the

  7      deposition has to show that there is other means,

  8      less-intrusive means, like lower-level employees and/or

  9      that the -- this higher-level executive does not have

 10      unique personal knowledge.

 11                       So there's three witnesses here.            Two of

 12      those fall within that construct, Sergey Brin and Sundar

 13      Pichai.    With your permission, I'd like to just briefly

 14      talk about each one.

 15                       SPECIAL MASTER:        Please.

 16                       MR. YETTER:      And it seems to me that the

 17      most relevant way to deal with them is to look -- we

 18      asked.    They brought this up.         They noticed these three,

 19      and including Mr. Mohan.        We pushed back or we inquired

 20      why would you want to take them.             Two of them -- all of

 21      them are still at the company.            All of them are at very

 22      high levels.

 23                       They all fall -- it may not be called apex

 24      doctrine in federal court, but it's clearly a doctrine

 25      for high-level executives in the Eastern District in

                                                                    Page 114

                                 Veritext Legal Solutions
                                      346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 9 of 46 PageID #: 13157


  1      federal -- in the Fifth Circuit generally.

  2                       They gave us documents -- some -- they

  3      added some documents to what we've presented -- to what

  4      both sides have presented to the Special Master.

  5                       Let me just take them one at a time.

  6                       So Sergey Brin, co-founder, still active

  7      at Google.     The two documents -- the area that they

  8      focused on for Mr. Brin was basically the acquisition of

  9      DoubleClick.

 10                       And you've seen the documents, but I just

 11      want to make a couple of comments on two of the

 12      documents.

 13                       We attach them to our -- let me see if I

 14      can give you the document number.

 15                       SPECIAL MASTER:        I think it's 349.

 16                       MR. YETTER:      Yeah, our motion.     349.

 17                       And it is exhibit -- sealed Exhibits A and

 18      B.   And these are document, as I understand it, that

 19      they -- that the States called out to us to show that

 20      these two -- that this -- Mr. Brin had unique personal

 21      knowledge and no one else in the company, or that was at

 22      that time there, could testify about the same thing.

 23                       So Exhibit A is a series of e-mails and

 24      it's a seven-page -- a nine-page e-mail.           And Mr. Brin

 25      basically comments, as you've seen it, just a couple of

                                                                  Page 115

                                 Veritext Legal Solutions
                                      346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 10 of 46 PageID #: 13158


  1      times --

  2                       SPECIAL MASTER:            Right.

  3                       MR. YETTER:       -- usually in just a few

  4      words.     Like at one point, he says -- they're debating,

  5      and there's a number of people involved, all higher-up

  6      folks.     And they're debating:            What's the size of the

  7      offer?                                               ?

  8                       And he says:                                       .   He

  9      says:                                                .   He says:

 10

 11                                              .

 12                       And this is really a discussion among a

 13      number of executives at Google.               Some of them may not be

 14      there anymore.

 15                       But there's -- the one thing this e-mail

 16      at least respectfully will offer shows that it's not

 17      unique to Mr. Brin.       I mean, he may have had an opinion.

 18      But, just because a high-level executive has an opinion

 19      that he expresses among a group of other executives in

 20      coming to a decision, it doesn't mean that his knowledge

 21      about that decision is unique.

 22                       That's essentially the argument that the

 23      Plaintiffs are making, that if he makes a personal

 24      opinion or meets something personally, then that means

 25      it's unique personal knowledge.               And that's not what the

                                                                       Page 116

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 11 of 46 PageID #: 13159


  1      cases say.

  2                       I will point out, for example, in

  3      the -- one of the cases that we have cited is the

  4      Microsoft case, the Computer Acceleration case.             And in

  5      that Eastern District case, 2007, the Plaintiffs wanted

  6      to depose Bill Gates.        And they said, well, he -- we

  7      have some e-mails where he personally expressed concern

  8      about importance of boot speed and something.

  9                       And the magistrate judge there basically

 10      said, well, that's not enough.             It's not enough to claim

 11      that a higher-level executive has remotely relevant

 12      information, nor is it enough to show that he's the only

 13      one that has it, that he's unique.

 14                       So, here, in -- Sergey Brin may have

 15      expressed in Exhibit A and 17 years ago in March of

 16      2007.

 17                       And, in Exhibit B, he got a slide deck,

 18      like lots of other people did, that covered the same

 19      acquisition, again, 17 years ago in 2007, that somehow

 20      that creates -- makes him a relevant --

 21      materially-relevant witness.

 22                       The State says that the fact that he got

 23      the slide deck, it was a custodian, in other words, and

 24      saved somehow on his --

 25                       SPECIAL MASTER:         Right.

                                                                  Page 117

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 12 of 46 PageID #: 13160


  1                       MR. YETTER:       -- electronic information,

  2      makes it relevant to him.          And, again, it's nothing more

  3      that Bill Gates.

  4                       Another case that we have cited to the

  5      Special Master is the Motion Games/Nintendo case where

  6      they wanted to depose the CEO -- or I believe the

  7      president of Nintendo.        And he made public statements.

  8      He didn't make just internal e-mails, like Bill Gates

  9      did.    He made public statements.            The Plaintiff is

 10      saying that makes -- that means he's got important

 11      personal -- unique personal involvement here.

 12                       And, essentially, what the Plaintiffs, the

 13      States, have given us here is Mr. Brin, at a high level,

 14      back in 2007, was involved in high-level discussions,

 15      like lots of executives.         And it doesn't reflect

 16      anything more than simply being involved in a lot of

 17      discussions about the acquisition of DoubleClick.

 18                       This case, according to the Plaintiff, is

 19      not about the acquisition of DoubleClick.              It's not

 20      alleged that that itself was an epic competitive act,

 21      but that what was done with DoubleClick is of substance.

 22                       So we've made that argument.           You've seen

 23      that.

 24                       SPECIAL MASTER:         Yes.

 25                       MR. YETTER:       So that's Mr. Brin.

                                                                   Page 118

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 13 of 46 PageID #: 13161


  1                       SPECIAL MASTER:         But would he not have

  2      some relevant information about, once we acquired

  3      DoubleClick, this might be the strategy, this might be

  4      the approach that we would like to implement on

  5      DoubleClick once it comes within the now Alphabet

  6      umbrella then?      I don't think Alphabet was around.

  7                       I would anticipate something from your

  8      friends across the aisle about that.

  9                       MR. YETTER:       I'm sure they're going to say

 10      that.

 11                       Like any executive at his level at the

 12      time --

 13                       SPECIAL MASTER:         Right.

 14                       MR. YETTER:       -- he's going to be apprised

 15      of a whole lot of stuff, like do we buy it, how much do

 16      we pay for it, what do we do with it.

 17                       The argument today to the Special Master

 18      is really not that third thing, what do we do with it,

 19      very much.

 20                       But, even if it were --

 21                       SPECIAL MASTER:         Right.

 22                       MR. YETTER:       -- even if they pulled up a

 23      bunch of exhibits and e-mails and slide decks that he

 24      got, that he was a custodian of, that shows he knows

 25      what they were going to do with it, again, what they

                                                                  Page 119

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 14 of 46 PageID #: 13162


  1      haven't done and what we think we have shown is that

  2      he's not the person making that decision.            He doesn't

  3      have unique personal knowledge about it.

  4                       And whatever the decision that was being

  5      made, which is not in the documents they provided to the

  6      Special Master at this point, there are other either

  7      current or former higher-level executives, employees, of

  8      Google that could testify about the same thing.

  9                       We wouldn't be in this discussion today if

 10      Mr. Brin were retired and -- or he were at some other

 11      company because the whole point of this document is that

 12      when you have higher-level employees of your

 13      adversary -- and Mr. Brin is the co-founder, he's now

 14      still very much at the top -- Sundar Pichai is the top

 15      man -- then the Court looks at whether -- it's

 16      essentially a proportionality standard.

 17                       It's whether it is burdensome, needless,

 18      and disproportional to be asking that high-level

 19      employee of your adversary things that others

 20      within -- other witnesses with their current Google

 21      employees or former Google employees -- the States have

 22      been deposing and -- or, at least at this point,

 23      subpoenaing former high-level Google employees, like

 24                  -- that -- and that that executive doesn't

 25      have unique personal knowledge, then it's the

                                                                  Page 120

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 15 of 46 PageID #: 13163


  1      proponent's obligation to take those less-intrusive

  2      steps.

  3                       I will say, another good example of how

  4      this process works is the Isaacks case of 2023, Eastern

  5      District case.      This is the Little League baseball case.

  6      And it was a terrible case involving sex abuse by a

  7      Little League coach.

  8                       But what the Plaintiffs did there is they

  9      wanted to depose the CEO.          The way they went about doing

 10      it, without the policy of the League, is they asked the

 11      safety manager who made the decision not to mandate

 12      child-safety testing.        She said:        It wasn't me.   Someone

 13      up the chain.

 14                       So then they asked her supervisor.            Then

 15      they asked the Chief Operating Officer.              And he said:

 16      It wasn't me.      It was my boss, the CEO.

 17                       And the magistrate judge in that situation

 18      said that's exactly the situation where the CEO makes an

 19      important decision where no one else can testify about

 20      it because it was his decision.

 21                       SPECIAL MASTER:         So let me ask you,

 22      Mr. Yetter.     If Mr. Brin is not deposed, who's the

 23      substitute for Mr. Brin at a lower level, what I hear

 24      you saying?     Who is that witness?

 25                       MR. YETTER:       Let's talk about which topic

                                                                   Page 121

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 16 of 46 PageID #: 13164


  1      they want to talk about.

  2                       SPECIAL MASTER:         Right.

  3                       MR. YETTER:       The acquisition of

  4      DoubleClick --

  5                       SPECIAL MASTER:         Yes.

  6                       MR. YETTER:       -- Neal Mohan was at

  7      DoubleClick.

  8                       I really think what they want to talk to

  9      about, according to their complaint, is what was done

 10      with DoubleClick after it was acquired.              And Neal Mohan

 11      ran DoubleClick.

 12                       And I'm not trying to finger anybody.

 13      I'm --

 14                       SPECIAL MASTER:         No, no.    You're answering

 15      my question.

 16                       MR. YETTER:       But he basically was in

 17      charge of DoubleClick after he came to Google until

 18      2015.    That's why they want to depose him again, at

 19      least reportedly.

 20                       Now, that same topic is also on a

 21      30(b)(6), their long list of --

 22                       SPECIAL MASTER:         It's number 66.

 23                       MR. YETTER:       So they want us to give the

 24      most knowledgeable person.

 25                       So if the -- and our position, in response

                                                                    Page 122

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 17 of 46 PageID #: 13165


  1      to it shouldn't be Mr. Brin, it shouldn't be Pichai,

  2      because there are other people, our 30(b)(6)

  3      representative will be one of them.

  4                       SPECIAL MASTER:         Who -- I'm going to ask

  5      you this:     Who is that witness for Topic 66?             Has that

  6      been decided?

  7                       MR. YETTER:       I -- that is a good question.

  8      I don't know off the top of my head, but I can provide

  9      that information to you.

 10                       SPECIAL MASTER:         Okay.      Just asking.

 11                       MR. YETTER:       And, frankly, it may well be

 12      Mr. Mohan.     If he's not --

 13                       SPECIAL MASTER:         And, while we're at it,

 14      Topic 97 on Meta will probably also be helpful too,

 15      right?    I mean, that's the argument --

 16                       MR. YETTER:       Correct.

 17                       SPECIAL MASTER:         -- that you make.

 18                       MR. YETTER:       And we will --

 19                       SPECIAL MASTER:         So I'm just asking who

 20      those witnesses will be because it might be relevant

 21      where we land on this.

 22                       MR. YETTER:       And we will give you the -- I

 23      don't know off the top of my head.

 24                       SPECIAL MASTER:         Okay.

 25                       MR. YETTER:       But we are obligated and we

                                                                     Page 123

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 18 of 46 PageID #: 13166


  1      agreed that we're going to provide -- I know there's

  2      been some discussion about it, but we will be providing

  3      a witness on those.

  4                       SPECIAL MASTER:         On those two topics?

  5                       MR. YETTER:       Yeah.

  6                       If that -- if -- it's not, though, like

  7      that's the only person or witnesses -- the person we do

  8      on the 30(b)(6).      Because in any one of the documents

  9      that you've seen -- we've just been talking about

 10      Mr. Brin, but Mr. Pichai is exactly the same.

 11                       It's a group of people on every single

 12      document that they've provided that, whether they're

 13      current or former, are potential witnesses about the

 14      very same exhibit.

 15                       SPECIAL MASTER:         The CEO, has he

 16      been -- he hasn't been deposed in the MDL, has he?

 17                       MR. YETTER:       Neither of these witnesses,

 18      Mr. Brin or Mr. Pichai, were deposed either in the MDL

 19      or in the DOJ case.

 20                       SPECIAL MASTER:         Thank you.   That was my

 21      understanding.      All right.

 22                       Go ahead.      I don't want to cut you off.

 23                       MR. YETTER:       On -- moving to Mr. Pichai,

 24      there -- they -- there's really three things, three big

 25      topics --

                                                                    Page 124

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 19 of 46 PageID #: 13167


  1                       SPECIAL MASTER:          Tell you what.

  2                       MR. YETTER:       Yes.

  3                       SPECIAL MASTER:          This might be a good

  4      stopping point --

  5                       MR. YETTER:       Okay.

  6                       SPECIAL MASTER:          -- unfortunately.

  7                       I think we need to get back to -- we've

  8      got eight minutes.       And we can go a few more minutes if

  9      we want to.     But we need to get into the courtroom.

 10                       MR. YETTER:       I'm good to stop.

 11                       SPECIAL MASTER:          Let's take a -- let's

 12      stop here.

 13                       And let's go off the record.

 14                       THE REPORTER:        Off the record.

 15                       (Break was from 1:23 p.m. to 4:38 p.m.)

 16                       SPECIAL MASTER:          So let's go back on the

 17      record.

 18                       We're back here at about 4:39, same long

 19      afternoon that we've had.          And we've had excellent

 20      argument between both sides on motions to dismiss in

 21      Judge Jordan's court.

 22                       We're now back to finish the remaining

 23      discovery disputes that are set forth in Docket 380.

 24                       And, when we broke to argue those two

 25      motions, Mr. Yetter had the floor with respect to

                                                                    Page 125

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 20 of 46 PageID #: 13168


  1      Google's motion for protective order with respect to

  2      three executives of Google or Google affiliates, YouTube

  3      is what I understand for Mr. Mohan.

  4                       So, Mr. Yetter, we talked about Mr. Brin's

  5      deposition.     Anything more you want to say on Mr. Brin

  6      before we move to Mr. Pichai, the CEO?

  7                       MR. YETTER:       One thing, Special Master,

  8      you asked about -- I had made the point about there are

  9      other less-intrusive witnesses from which to get the

 10      same means, to get the same information.              You asked

 11      about the 30(b)(6) Topic 66, which is DoubleClick.

 12                       SPECIAL MASTER:         Right, the acquisition.

 13                       MR. YETTER:       It will be in two pieces.

 14      It's actually more than the acquisition.              It's actually

 15      integration and operation as well.

 16                       The acquisition, which we don't really

 17      think is an issue, but we will have a witness testify

 18      about that.     And it would be Mr. Mohan, Neal Mohan's

 19      testimony about that, if he is going to testify.

 20                       SPECIAL MASTER:         If it goes beyond

 21      14 hours, yes.

 22                       MR. YETTER:       And, on the integration and

 23      operation, it is Mr.                          , who is starting

 24      tomorrow.

 25                       SPECIAL MASTER:         Okay.

                                                                   Page 126

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 21 of 46 PageID #: 13169


  1                       MR. YETTER:       His -- and he is -- I'm now

  2      informed he's already been designated for that.                He is

  3      one of the 32.

  4                       SPECIAL MASTER:         He's on Number 66 for

  5      that issue.

  6                       MR. YETTER:       He's on 66.

  7                       And he's also on Number 97, which is

  8      basically the Network Bidding Agreement.                It's about

  9      Meta and header bidding.         And he has been designated for

 10      that topic already as well.           So, if that's not covered

 11      tomorrow, it will be covered in a few extra hours next

 12      week.

 13                       And so both of those topics, to the extent

 14      that they're relevant in the case, have a witness.                   He

 15      is a senior engineer, a senior employee of Google that

 16      is prepared to testify about that, which, again, we

 17      believe reflects both that there is a -- are available

 18      less-intrusive means and that this knowledge about both

 19      of those topics, DoubleClick integration and operation

 20      and acquisition and Facebook Meta and the NBA, are not

 21      unique personal knowledge of Mr. Brin.

 22                       SPECIAL MASTER:         Okay.      Obviously, for

 23      30(b)(6), it doesn't depend upon personal knowledge, but

 24      it can be helpful.

 25                       Mr.            was at Google at the time of

                                                                     Page 127

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 22 of 46 PageID #: 13170


  1      the DoubleClick acquisition?

  2                       MR. YETTER:        He was.          He was, yes.   I

  3      believe he was.      He's been -- no, actually, I'm not sure

  4      about that.     I thought I had heard he had been --

  5                       (Sotto voce discussion between Mr. Yetter

  6      and Ms. Bracewell.)

  7                       MR. YETTER:        Mr. Mohan has been, but I

  8      think Mr.            --             came a few years later, but

  9      he has been -- he will be prepared to testify about the

 10      integration.     I believe he's been there for 12 years?

 11                       MR. MCCALLUM:         Sounds right.

 12                       SPECIAL MASTER:          Thank you.        All right.

 13                       MR. YETTER:        Mr. Pichai is -- if Mr. Brin

 14      is at a very high level, Mr. Pichai is at the pinnacle

 15      of the company.      He's the CEO of Alphabet.

 16                       He is -- the focus that they -- that the

 17      States have put on him is, again, for DoubleClick, less

 18      on the acquisition, but to some extent on the

 19      acquisition.     Not very much on the operations, at least

 20      not in the documents that they have suggested.

 21                       The Network Bidding Agreement, they say

 22      that he was involved to some extent in that.

 23                       He updated the board on the

 24      DoubleClick -- at least he was involved in some board

 25      presentations on the DoubleClick acquisition.

                                                                        Page 128

                                   Veritext Legal Solutions
                                        346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 23 of 46 PageID #: 13171


  1                       He had some involvement in a response to a

  2      Forbes article on click fraud, is what the Plaintiffs

  3      have said.     And he had some involvement on competitive

  4      efforts by Microsoft with regard to some innovations

  5      that --

  6                       SPECIAL MASTER:         He had a friend at

  7      Microsoft, I believe.

  8                       MR. YETTER:       He had a contact at

  9      Microsoft.

 10                       SPECIAL MASTER:         We're all friends.

 11                       MR. YETTER:       We're all -- yes, we're all

 12      friends or colleagues.

 13                       And it was some new innovation at

 14      Microsoft.

 15                       Now, what I would say about that is,

 16      especially when you look at the documents that they

 17      provided on this -- and I'll only give a couple of

 18      examples -- well, first of all, Plaintiffs' Exhibit 4 to

 19      their response to the motion for protection, on the

 20      DoubleClick acquisition, he sends an e-mail that -- to

 21      three colleagues, Mr.                 , Ms.          , and

 22      Mr.           , on the announcement of acquiring

 23      DoubleClick in April 2007.           He basically says:

 24

 25                       How that is particularly relevant, if

                                                                   Page 129

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 24 of 46 PageID #: 13172


  1      DoubleClick is relevant -- I'm not saying it's not

  2      relevant -- but that is the most remotely relevant

  3      indication of his knowledge, that he congratulates his

  4      colleagues.

  5                       SPECIAL MASTER:         No, go ahead.

  6                       MR. YETTER:       On the issue of the Forbes

  7      article on click fraud, the article is -- which is

  8      Exhibit 11 to the response, the article is in July of

  9      2007.    And he's asked by a colleague to work on some

 10      bullet points to respond to the article with another

 11      colleague,                .   And they eventually do in order

 12      to update another colleague, a senior-level fellow by

 13      the name of                             , on this article.

 14                       And, one, it's not clear -- at least the

 15      States have not made it clear how the DoubleClick -- how

 16      this article on the click fraud is woven into this case

 17      about disclosures in antitrust violations.

 18                       But the bottom line is he's clearly

 19      working with other people.           His answer is:

 20

 21                       And an instant message with

 22      said:                     .

 23                       So he's working with another colleague.

 24      Any one of these would have the same knowledge about the

 25      talking points that they put together about this article

                                                                  Page 130

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 25 of 46 PageID #: 13173


  1      in Forbes.

  2                          And the last one I will mention is --

  3                          SPECIAL MASTER:        The NBA?

  4                          MR. YETTER:     Yes.     And it is --

  5                          (Reporter clarification.)

  6                          MR. YETTER:     It is Exhibit H held under

  7      seal to our motion for protection.

  8                          And this is another one of the documents

  9      that the States have pointed out to us.               It is a

 10      September 2018 e-mail in which one of -- a Mr.                      at

 11      Google sends an update on the Network Bidding -- the

 12      NBA.

 13                          And, in the second paragraph, he says:

 14                      .

 15                                                                      .

 16                          At this point, Mr. Pichai is the CEO.

 17                          And the e-mail, which is obviously, on the

 18      face of it, an update to him about the status of the

 19      deal, has 49 other recipients on it, any number of which

 20      are -- we would argue, are more informed probably than

 21      Mr. Pichai, which is getting updated as the deal is

 22      coming to conclusion, who is not having to give his

 23      approval.

 24                          And, to the extent that there is

 25      information that the Plaintiffs want to get about the

                                                                     Page 131

                                   Veritext Legal Solutions
                                        346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 26 of 46 PageID #: 13174


  1      DoubleClick -- excuse me -- about the NBA, which is not

  2      already going to be testified about in the 30(b)(6),

  3      they have countless other -- at least 49 other Google

  4      employees who may be still at the company or are

  5      formerly at the company to ask about it.

  6                       The only thing that the States cite in

  7      contrast is a document that is a promotion application

  8      by another employee of the company who describes somehow

  9      that final approval was going to come from Mr. Pichai.

 10      And Mr. Pichai had nothing to do with that promotion

 11      application.

 12                       So the bottom line -- and this is really

 13      from our perspective.        You said we're in the ninth

 14      inning.     There's, you know, two strikes left.           The

 15      fourth quarter or two minutes left.

 16                       You know, these are two of the very most

 17      senior executives of the company.              None of the other

 18      Plaintiffs in their related cases have asked to depose

 19      them.

 20                       They -- their knowledge, as the States

 21      have provided it to us, are remotely relevant, if it's

 22      relevant.     And there are more than enough, as we have

 23      provided in the papers given to the Special Master,

 24      significant evidence that there are less-intrusive means

 25      and that the knowledge is not unique to either of these

                                                                   Page 132

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 27 of 46 PageID #: 13175


  1      two men.

  2                       I'll stop there.

  3                       SPECIAL MASTER:         Let me ask a question

  4      about Mr. Pichai.      He testified -- not -- this is

  5      information.     There's -- not dispositive.             It's

  6      just -- he testified in Search, as I understand.                 Is

  7      that right?

  8                       MR. YETTER:       He did.

  9                       SPECIAL MASTER:         Okay.      And he testified

 10      in Epic Games?

 11                       MR. YETTER:       He did in Epic -- he was a

 12      Google witness in Search and a Epic -- adverse witness

 13      in the Epic case.

 14                       SPECIAL MASTER:         Okay.      But not in -- we

 15      talked about.      He's -- he didn't -- he hasn't testified

 16      in the three cases involving display ads.

 17                       MR. YETTER:       He's not going to be a

 18      witness in the Virginia case, and he has not been

 19      noticed or deposed in the NBA.

 20                       SPECIAL MASTER:         Okay.      Thank you.

 21                       Want to cover --

 22                       MR. YETTER:       Mr. Mohan?

 23                       SPECIAL MASTER:         -- Mr. Mohan?

 24                       MR. YETTER:       A different -- while he is

 25      CEO of YouTube, we're not moving under that doc -- the

                                                                     Page 133

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 28 of 46 PageID #: 13176


  1      so-called apex doctrine.

  2                       But he has been deposed 14 hours already.

  3      You know --

  4                       SPECIAL MASTER:         So let me ask a question

  5      on that.     Are you willing to say that the deposition he

  6      gave to the DOJ can be treated as if it were taken in

  7      this case?     Just asking.

  8                       (Sotto voce discussion between Mr. Yetter,

  9      Ms. Bracewell, Mr. And McCallum.)

 10                       SPECIAL MASTER:         And let me ask another

 11      question.

 12                       MR. YETTER:       We will get back to you on

 13      that.

 14                       SPECIAL MASTER:         That's fine.    You may not

 15      want to make that call right here and now.              I get that.

 16      But it might be relevant to --

 17                       MR. YETTER:       Yes, we understand that.

 18                       SPECIAL MASTER:         Do the States have a copy

 19      of his deposition in the DOJ case, Mr. Mohan's?

 20                       MR. DEROSE:       We do.

 21                       SPECIAL MASTER:         Okay.

 22                       MR. DEROSE:       And we think that there was a

 23      lot that was not --

 24                       SPECIAL MASTER:         Covered.

 25                       MR. DEROSE:       -- covered.

                                                                   Page 134

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 29 of 46 PageID #: 13177


  1                       SPECIAL MASTER:         I suspect from your

  2      standpoint.

  3                       But you do have a copy of it?

  4                       MR. DEROSE:       We do have a copy, yes.

  5                       SPECIAL MASTER:         And you took it in the

  6      first seven hours, so you have -- so -- you have

  7      14 hours of his testimony.

  8                       MR. DEROSE:       Mohan's deposition was only

  9      taken by the Department of Justice.                 It was not

 10      cross-noticed by anyone in the MDL.

 11                       SPECIAL MASTER:         Right.

 12                       MR. DEROSE:       So it's just seven hours of

 13      testimony.

 14                       SPECIAL MASTER:         I'm sorry.       What I was

 15      referring to is you took him before you filed this

 16      lawsuit.     You took him in the investigation stage?

 17                       MR. DEROSE:       Oh, in the investigation.

 18      Yes.

 19                       SPECIAL MASTER:         Do you have that?

 20      Because the State of Texas took that depo --

 21                       MR. DEROSE:       Right.      Yes.

 22                       SPECIAL MASTER:         -- I assume.       Right?

 23                       MR. DEROSE:       Sorry.

 24                       SPECIAL MASTER:         So you've got 14 hours of

 25      him, correct?

                                                                      Page 135

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 30 of 46 PageID #: 13178


  1                       MR. DEROSE:       That's my understanding, yes.

  2                       SPECIAL MASTER:         Okay.      Yeah.

  3                       MR. YETTER:       I believe he was the only

  4      witness that was deposed in the investigation.               I -- let

  5      me double-check on that, but that's my memory.

  6                       Am I correct?

  7                       UNIDENTIFIED MAN:          I'm not sure.

  8                       SPECIAL MASTER:         Okay.

  9                       Anything else on Mr. Mohan?

 10                       MR. YETTER:       The only thing on

 11      Mr. Mohan -- and, as I said, there -- to some extent, we

 12      may designate him on some issues, so there may be a

 13      limited amount of extra testimony -- is that the

 14      coordination order, while it's clearly not in effect

 15      today, at the time he was deposed in Virginia, it was in

 16      effect.    And the State of Texas was still -- had not yet

 17      been remanded back to the Eastern District.

 18                       And, at that time, both the MDL and the

 19      Plaintiff and the State of Texas, under that existing

 20      coordination, would be -- would have -- that would have

 21      been counted against them.           They didn't

 22      count -- cross-notice it.

 23                       And today, as counsel had said earlier,

 24      the DOJ is seeking to amend the coordination order in

 25      Virginia such that the very same obligation would

                                                                     Page 136

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 31 of 46 PageID #: 13179


  1      extend.

  2                       If that happens -- and Texas is not

  3      objecting to it, they're in agreement with it -- it

  4      still would be their -- it would count as a deposition

  5      in this case.

  6                       So when it was taken, at least when it was

  7      noticed, it counted as a deposition in this case.              And,

  8      if what happens in Virginia -- if the amended

  9      coordination order actually happens, it will count as a

 10      deposition in this case.         And the -- you may have read

 11      the motion to amend the coordination order.              The DOJ

 12      says that, that it would mean that the witnesses taken

 13      in Virginia or in the MDL could not be retaken in --

 14                       SPECIAL MASTER:         Right.

 15                       MR. YETTER:       -- without good cause.

 16                       SPECIAL MASTER:         But it -- you filed the

 17      opposition, though, to that yesterday evening.              Right?

 18                       MR. YETTER:       We did, for different

 19      reasons.    We --

 20                       SPECIAL MASTER:         Right, right.

 21                       MR. YETTER:       -- file it for different

 22      reasons.

 23                       All I'm saying is that the States here

 24      before the Special Master are saying, We've never taken

 25      that deposition.      Yet back, originally, when it was

                                                                   Page 137

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 32 of 46 PageID #: 13180


  1      taken in Virginia, and even today, the States have

  2      agreed that it would have been counted as a --

  3                       SPECIAL MASTER:          If they remained

  4      in -- their argument now is it's not a coordinated case,

  5      right?

  6                       MR. YETTER:        It's certainly their argument

  7      now.

  8                       But, if what happens in Virginia with the

  9      motion to amend, if it happens, it would be --

 10                       SPECIAL MASTER:          Then it comes back, is

 11      your point.     Got it.

 12                       All right.       Anything else from Google on

 13      these three potential witnesses, deponents?

 14                       MR. YETTER:        No.

 15                       SPECIAL MASTER:          Okay.

 16                       Mr. Keller.

 17                       MR. KELLER:        Hi, Special Master.

 18                       I think I'll start with Mr. Brin and

 19      reserve the right to phone a friend here if they want to

 20      rein me in.

 21                       I know you've read the papers.            I know you

 22      understand their relevance first.               And then, once we've

 23      got that, the presumption is we get things unless they

 24      can overcome the burden of showing there's a

 25      less-intrusive means.

                                                                    Page 138

                                   Veritext Legal Solutions
                                        346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 33 of 46 PageID #: 13181


  1                       I think you just heard any number of

  2      40 people on a e-mail or 20 people on an e-mail.             I

  3      don't think that meets their burden of showing the

  4      less-intrusive means.        You can't just point to a laundry

  5      list.    But let's put a pin in that.

  6                       The main overarching point I would make

  7      for Mr. Brin -- and I think it applies to the CEO as

  8      well -- is intent really matters in these kinds of

  9      antitrust cases.      It's actually an element of an

 10      effective monopolization claim, so it's really

 11      important.

 12                       But it's definitely probative and relevant

 13      to monopolization itself, even if it's not dispositive

 14      because, if you have the intent to go out and monopolize

 15      and get ill-gotten profits, as opposed to competing

 16      based on your superior skill and technological prowess,

 17      that's something that could be taken into account

 18      because we presume that sophisticated entities like

 19      Google are pretty good at carrying out their intent.

 20                       Another feature that I think comes from

 21      these sorts of cases is precisely because the antitrust

 22      laws exist people don't document their intent in careful

 23      memos that lay out their anti-competitive designs.

 24                       And so the DoubleClick acquisition, why

 25      did Mr. Brin, as a co-founder and a high-ranking officer

                                                                  Page 139

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 34 of 46 PageID #: 13182


  1      of the company,

  2            ?   And they say we haven't alleged that the

  3      acquisition itself was anti-competitive.                We don't

  4      concede that it wasn't, that's true.                But, obviously,

  5      the acquisition of DoubleClick played a significant role

  6      in all of the other monopolization and attempt theories

  7      that we're pursuing.

  8                       And, you know, one reason that Mr. Brin

  9

 10

 11

 12                                                                 .

 13

 14

 15

 16                                      .

 17                       And, by its nature, these sorts of

 18      intentions are going to be limited to the very top of an

 19      organization like Google.           They're not sending around a

 20      memo to everybody copied on that e-mail saying here's

 21      all the anti-competitive stuff we're going to do with

 22      the DoubleClick asset.

 23                       So we've got to be able to depose someone

 24      like Mr. Brin,

 25

                                                                        Page 140

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 35 of 46 PageID #: 13183


  1                                                                 .

  2                       And so, you know, we point to some

  3      documents that demonstrate the relevance.                  We're not

  4      going to give our entire deposition playbook and show

  5      them everything in advance.           We don't think that that's

  6      our burden at this phase.

  7                       But the thematic point is that intent

  8      matters.    And I think I would say the same sort of thing

  9      with respect to the CEO.

 10                       You know, he's going to know things that

 11      he's not sharing outside of a very tight circle within

 12      Google if our theories of this case are right.

 13                       And the other point I would make that

 14      maybe doesn't come through as sharply in the papers -- I

 15      know you know this -- a big part of this is

 16      proportionality and burden.

 17                       I cast no aspersions on anybody's case.

 18      Everybody thinks their case is the most important case

 19      in the world.      This is not a $75,000-and-one-penny

 20      diversity case.      Right?     This is a case by 17 sovereign

 21      states.    And we're seeking to break up Google.                That's a

 22      pretty big deal.

 23                       The stakes are high.               The CEO can sit for

 24      a deposition.      Sergey Brin, he's an important person, no

 25      doubt about it.      But he can sit for a deposition.

                                                                        Page 141

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 36 of 46 PageID #: 13184


  1                       The allegations that we're making are real

  2      serious, so it means that high-level people have to get

  3      in a chair.

  4                       SPECIAL MASTER:         Anything on Mr. Mohan

  5      further?

  6                       MR. KELLER:       No.     Pass the baton on him.

  7                       MR. DEROSE:       Do you want to talk

  8      about -- do you want to give more on Brin and Pichai

  9      or --

 10                       MS. YOUNG:      Yeah.      Just a few more things.

 11                       SPECIAL MASTER:         Sure.

 12                       MS. YOUNG:      And these are -- agreed the

 13      thematic points, I think, are quite concerning, but

 14      there may be smaller points.

 15                       Just -- so most of the people -- I think

 16      we dropped it in the footnotes -- that were on the

 17      documents --

 18                       SPECIAL MASTER:         They're gone.

 19                       MS. YOUNG:      -- Pichai -- they're gone.

 20                       SPECIAL MASTER:         I got it.

 21                       MS. YOUNG:      So I think that has two

 22      implications.      Right?    They're not there.       But it also,

 23      I think, shows that the 30(b)(6) is not a substitute.

 24                       And Mr. Mohan, where they're challenging

 25      on other grounds, if they put him up, he's not on any of

                                                                  Page 142

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 37 of 46 PageID #: 13185


  1      those documents.      I don't think he was quite -- even

  2      close to the level of Mr. Brin and then Mr. Pichai at

  3      the time.     So I think that poses two problems.

  4                       A smaller issue is the Topic 97, I think

  5      Mr.           is only covering a portion of it, so that

  6      leaves another portion open on the NBA.

  7                       With respect to Mr. Pichai, I think, as

  8      you noted, he took the stand in the Search and Epic

  9      cases.    He might take the stand in the DOJ case.              We

 10      don't know.     It's still to be seen whether or not he's

 11      going to be a witness in that case.

 12                       I think that's it from me.

 13                       SPECIAL MASTER:         Yeah.      We're just talking

 14      about depositions today, right?

 15                       MS. YOUNG:      Yeah.      Right.

 16                       SPECIAL MASTER:         We're not talking about

 17      trial witnesses?      Okay.

 18                       MS. YOUNG:      And then I can move on to

 19      Mr. Mohan unless --

 20                       Do you have anything on Brin or Pichai?

 21                       MR. DEROSE:       No.

 22                       MS. YOUNG:      So I think I --

 23                       SPECIAL MASTER:         So this is a witness

 24      that's been deposed for 14 hours.

 25                       MS. YOUNG:      Yes.

                                                                     Page 143

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 38 of 46 PageID #: 13186


  1                       SPECIAL MASTER:         Seven by you, seven by

  2      the DOJ.

  3                       MS. YOUNG:      Not in this case.

  4                       My understanding is that --

  5                       SPECIAL MASTER:         In your presuit

  6      investigation.

  7                       MS. YOUNG:      Yes, yes.          And --

  8                       SPECIAL MASTER:         I know it doesn't count

  9      as one, but yes.

 10                       MS. YOUNG:      Yeah, yeah.

 11                       And, I think -- so the one point that

 12      wasn't raised is the volume of documents that was

 13      produced.

 14                       So the investigation deposition took place

 15      in 2020, so four years ago.           Six million-ish, I don't

 16      know, around -- a lot of documents have been produced

 17      since then.     And then even since the DOJ's deposition in

 18      October, documents have been produced associated with

 19      Mr. Mohan.

 20                       There was -- and I don't want to kind of

 21      get into a dispute about this, but even documents that

 22      were produced in early October, the States were not able

 23      to access until after his deposition.

 24                       And, as Mr. DeRose alluded to, I think,

 25      through those there's a lot of topics that were not

                                                                      Page 144

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 39 of 46 PageID #: 13187


  1      covered in the prior deposition that we didn't have

  2      knowledge about or couldn't have asked about in the

  3      prior deposition.

  4                       SPECIAL MASTER:         So your ask on Mr. Mohan

  5      is seven hours?

  6                       MR. DEROSE:       Yes, sir.

  7                       MS. YOUNG:      Uh-huh.

  8                       SPECIAL MASTER:         Okay.      All right.

  9                       What else?      I don't mean to cut you off.

 10      Just a question.

 11                       MS. YOUNG:      I think that's it.

 12                       No, please go.

 13                       MR. DEROSE:       I think the timing of what

 14      happened when we were in the MDL is significant.

 15                       Mr. Lanier represented to Judge Jordan

 16      before the decision to hold the Mohan deposition went to

 17      the top levels, and that means Mr. Keller and

 18      Mr. Lanier.

 19                       Mr. Mohan was scheduled for a deposition

 20      the day after Labor Day.         The week before, we got an

 21      e-mail from our friends on the other side that there had

 22      been a hiccup related to document production.                That

 23      hiccup resulted in 16 million documents not being

 24      reviewed, 10,000 of which were related to Mr. Mohan.                So

 25      we pulled the deposition and said we can't do this at

                                                                     Page 145

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 40 of 46 PageID #: 13188


  1      this time.

  2                       It then took us a couple months to get all

  3      the documents, once they were produced and ingested.

  4      And we said we're not taking it just because the DOJ

  5      takes it.     We made it clear to Google at the time.            And

  6      they made it clear that they were going to object to it.

  7                       But we do think that he has unique

  8      information.     We think that we're no longer tied to the

  9      DOJ schedule, and we weren't in October.               And he was at

 10      DoubleClick as part of the transaction.               He has unique

 11      information that we did not know during the

 12      investigation.

 13                       And we do think, as they said, you know,

 14      we weren't compelled to take it during the DOJ's time

 15      line.    And we didn't have time to review the documents.

 16      We have now, and we're prepared to take it.

 17                       SPECIAL MASTER:         All right.

 18                       Anything further from the States on these

 19      three?    Mr. Yetter, rebuttal?

 20                       MR. YETTER:       Very briefly.

 21                       Counsel says, in an antitrust case, intent

 22      to monopolize matters.        There's nothing that says in an

 23      antitrust case you always take the CEO or every other

 24      top executive in the case of the adversary at the time.

 25                       And Sundar Pichai was not the CEO at the

                                                                    Page 146

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 41 of 46 PageID #: 13189


  1      time that DoubleClick was acquired.

  2                       So the intent to monopolize, the argument

  3      is to take Mr. Pichai because somehow his intent was

  4      critical in 2007.      He wasn't the top executive.

  5                       SPECIAL MASTER:         He wasn't the top, but he

  6      had a significant role even at that point in time.

  7                       MR. YETTER:       He did -- he wasn't an

  8      executive, clearly.

  9                       SPECIAL MASTER:         Right.

 10                       MR. YETTER:       I think he --

 11                       SPECIAL MASTER:         He was either an officer

 12      or director.     He probably wasn't a director.            He was an

 13      officer.

 14                       MR. YETTER:       He was not a director.

 15                       SPECIAL MASTER:         He was an officer.

 16                       MR. YETTER:       He was an officer.

 17                       SPECIAL MASTER:         Right.

 18                       MR. YETTER:       But all of the documents that

 19      the Special Master has seen, it's a group of officers

 20      talking about the same thing.

 21                       And same with Mr. Brin.            He -- it's

 22      certainly a group of officers talking about the same

 23      thing.

 24                       There wasn't anything in the papers in

 25      which the States were saying that intent to monopolize

                                                                    Page 147

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 42 of 46 PageID #: 13190


  1      was the point of what they were trying to get.

  2                       And I would repeat, as I said earlier, the

  3      DOJ is going to try this case in Virginia without either

  4      of these men being deposed or without either of them

  5      being witnesses in the case, Mr. Brin and Mr. Pichai.

  6                       The point that -- and the States made this

  7      point in their papers, that most of these executives at

  8      the time are gone.

  9                       The States are taking depositions of

 10      former Google employees, a number of them.                 Many of them

 11      have their own lawyers.         And so that's something that

 12      certainly can happen here.

 13                       SPECIAL MASTER:         Those are the third-party

 14      witnesses that you were talking about recently?

 15                       MR. YETTER:       It is, some of which we are

 16      not coordinating, but we -- the request came to us and

 17      we've notified them.

 18                       So the bottom line is I would simply end

 19      with the Microsoft case, Computer Acceleration.                 In that

 20      case -- and every other case is consistent, as both

 21      sides have cited.      The oral deposition of a high-level

 22      corporate executive should not be freely granted when

 23      the subject of the deposition will be only remotely

 24      relevant to the issues of the case.                 This is especially

 25      so where the information sought in the deposition can be

                                                                      Page 148

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 43 of 46 PageID #: 13191


  1      obtained through less-intrusive discovery methods or

  2      from depositions that will arguably lead to more direct

  3      knowledge of the facts at issue.

  4                       And we respectfully submit everything we

  5      presented and, frankly, everything that the States have

  6      presented show that there are other -- many other

  7      employees that can testify about the same topics.              And

  8      none of these, and certainly Mr. Brin and Mr. Pichai,

  9      have knowledge -- personal knowledge that's unique.

 10      And, at best, some of the things that are being asked

 11      about are remotely relevant.

 12                       (Reporter clarification.)

 13                       (Security Guard entered proceedings.)

 14                       SPECIAL MASTER:         We're going to take a

 15      short break.

 16                       (Discussion held off the record.)

 17                       SPECIAL MASTER:         We're back on.

 18                       Anything further from the States in

 19      response to that?      I assume not.          But...

 20                       MR. DEROSE:       No, sir.

 21                       SPECIAL MASTER:         Okay.

 22                       Mr. Keller, do you need to leave?          I think

 23      we're done on this issue.

 24                       MR. KELLER:       I appreciate it.

 25                       SPECIAL MASTER:         You bet.

                                                                   Page 149

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 44 of 46 PageID #: 13192


  1                       MR. KELLER:       Thank you, Special Master.

  2                       Good to see you-all.

  3                       SPECIAL MASTER:         Thank you.

  4                       Let's move on.         We have a few more issues.

  5      We've handled the two protective orders from Google.

  6                       Interrogatories, are we -- y'all have an

  7      understanding on Interrogatory No. 12?                 No, we don't.

  8                       MR. YETTER:       We do not.

  9                       SPECIAL MASTER:         Let's be heard.

 10                       MR. YETTER:       And it is -- it's a simple

 11      issue.    We've asked -- they've alleged that

 12      the -- certain Google contracts are -- they allege tying

 13      claims in certain of the contracts.                 We've asked them to

 14      identify the contracts, which largely they have, but

 15      also what specific provisions are --

 16                       SPECIAL MASTER:         Coercive in nature.

 17                       MR. YETTER:       -- coercive or related to the

 18      tying.    And that's what we haven't gotten.

 19                       And it's -- it is -- we're almost done

 20      with fact discovery.       It's time -- beyond time to give

 21      us that information.

 22                       SPECIAL MASTER:         Okay.

 23                       Mr. DeRose or --

 24                       MS. YOUNG:      Yeah, I think the papers

 25      are --

                                                                      Page 150

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 45 of 46 PageID #: 13193


  1                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
  2                               SHERMAN DIVISION
  3           THE STATE OF TEXAS,                    )
              ET AL.,                                )
  4                                                  )
                    Plaintiffs,                      ) CIVIL ACTION NO.:
  5                                                  )
              VS.                                    ) 4:20-CV-957-SDJ
  6                                                  )
              GOOGLE LLC,                            )
  7                                                  )
                    Defendant.                       )
  8
  9
 10                          REPORTER'S CERTIFICATION
 11                        HEARING BEFORE SPECIAL MASTER
 12                                APRIL 18, 2024
 13
 14                 I, Kimberly Byrns Buchanan, Certified Shorthand
 15      Reporter in and for the State of Texas, hereby certify
 16      to the following:
 17          That the foregoing contains a true and accurate
 18      transcription of all proceedings in the above-styled
 19      matter as reported by me;
 20                 I further certify that I am neither counsel for,
 21      related to, nor employed by any of the parties or
 22      attorneys in the action in which this proceeding was
 23      taken, and further state that I am not financially or
 24      otherwise interested in the outcome thereof.
 25                 Certified to by me this 22nd day of April, 2024.

                                                                  Page 162

                                  Veritext Legal Solutions
                                       346-293-7000
Case 4:20-cv-00957-SDJ Document 468-1 Filed 05/06/24 Page 46 of 46 PageID #: 13194
